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:N THE UN:TED STATES DISTRICT COURT _¢.-;LE-D W’_ U_C'
FOR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 05["€€`1"'” 27 F'i"* 2' CEE
l|vl § 9 '
FasEr§€-‘l'e' -»
cL.J:;l-:.'-:;,
UNITED sTATES op AMERICA =.\-'»;.;;,_ ~

 

Plaintiff,

v. Criminal No. %_~ 2 §§ 262 Ml
L/qi>})c)n \/‘E?'zv/?/:-") “)

(3 0 -Day Continuance)

 

 

 

 

Defendant {s) .

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CONSENT ORDER ON CRIMINAL CASE CON'I`INUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is Currently set on the June, 2005,
criminal rotation calendar, but is now RESE'I‘ for report at w
a.m. on Fridav, June 24, 2005, with trial to take place on the
July, 2005 rotation calendar with the time excluded under the

Speedy Trial Act through July 15, 2005. _Agreed in open court at

   

/-

report date t i th ;'.‘__. § 11
Th\s document entered on %e%oc€¢zi sh

with F\ule 55 and/or 32(b) FRCrP on

 

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so oRDERED this 27ch day of May, 2005.

w m toll

JO PHIPPS MCCALLA
UN 'I`ED STATES DISTRICT JUDGE

 

§~z;z~ //M

Assistant United States Attorney

Counsel for Defendant(s)

 

 

 

 

   

UN1TED sTEATs D1STR1CT CoURT - WESRTE DISTR1CT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 73 in
case 2:04-CR-20228 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

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Ste. 800

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Honorable J on McCalla
US DISTRICT COURT

